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                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


SID CHILDRESS,

              Plaintiff,

v.                                                                1:18-CV-00455 LF-KBM

JAMES STEVEN DEERING d/b/a
CENTRA XYZ, LLC,

              Defendant.

                                  ORDER OF DISMISSAL

       On January 29, 2019, the Court entered a Memorandum Opinion and Order Granting

Defendant’s Motion to Dismiss (Doc. 15), dismissing Plaintiff Sid Childress’s Complaint for

Violations of the Telephone Consumer Protection Act, the Unfair Practices Act and Torts

without prejudice.

       IT IS THEREFORE ORDERED that this proceeding is DISMISSED without prejudice.



                                                   ___________________________
                                                   Laura Fashing
                                                   United States Magistrate Judge
                                                   Presiding by Consent
